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 6
 7                THE UNITED STATES DISTRICT COURT
 8             FOR THE CENTRAL DISTRICT OF CALIFORNIA

 9   Terrence Ferguson, an                Case No. 2:18-cv-10425
10   individual, aka 2 Milly,
                                          Complaint for:
11              Plaintiff,                  1. Direct Infringement of
                                               Copyright;
12        v.                                2. Contributory
13                                             Infringement of
     Take-Two Interactive
                                               Copyright;
14   Software, Inc.; a Delaware
                                            3. Violation of the Right of
15   corporation; 2K Sports, Inc., a
                                               Publicity under
     Delaware Corporation; 2K
16                                             California Common Law;
     Games, Inc., a Delaware
                                            4. Violation of the Right of
17   corporation; Visual Concepts
                                               Publicity under Cal. Civ.
     Entertainment, a California
18                                             Code § 3344;
     Corporation; and Does 1
                                            5. Unfair Competition under
19   through 50, inclusive,
                                               Cal. Bus. & Prof. Code §
20              Defendants.                    17200, et seq.;
21                                          6. False Designation of
                                               Origin under 15 U.S.C. §
22                                             1125(a);
23                                          7. Trademark Infringement
                                               under California Common
24                                             Law
25                                          8. Trademark Infringement
                                               under 15 U.S.C. § 1125(a);
26
                                            9. Trademark Dilution
27                                             under 15 U.S.C. § 1125(c)
28                                        Demand for Jury Trial

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 1       Plaintiff Terrence Ferguson, aka 2 Milly (“Plaintiff” or “Ferguson”),
 2   by and through his undersigned counsel, asserts the following claims
 3   against Defendants Take-Two Interactive Software, Inc. (“Take-Two”),
 4   2K Sports, Inc. (“2K Sports”), 2K Games, Inc. (“2K Games”), Visual
 5   Concepts Entertainment (“Visual Concepts”), and Does 1 through 50
 6   (collectively referred to as “Defendants”), and alleges as follows:
 7                              I.    OVERVIEW
 8              Through their unauthorized misappropriation of Ferguson’s
 9   highly popular dance called the “Milly Rock” in their video games, NBA
10   2K18 (“2K18”) and NBA 2K19 (“2K19”), Defendants have unfairly
11   profited from exploiting Ferguson’s protected creative expression,
12   likeness, and trademark.
13              Ferguson, also known by the alter ego and stage name, “2
14   Milly,” is a professional rapper, who created the self-named Milly Rock
15   dance, which exploded in popularity following Ferguson’s 2014 release
16   of his hit song, also titled, “Milly Rock,” and its accompanying music
17   video that demonstrates the dance.
18              Defendants capitalized on the Milly Rock’s popularity,
19   particularly with its African-American fans, by offering five versions of
20   the Milly Rock dance as in-game dances (called emotes) in 2K18 under
21   the names “Milly Rock I,” “Milly Rock II,” “Milly Rock III,” “Milly Rock
22   IV,” and “Milly Rock V.” In 2K18’s MyCareer and the Neighborhood
23   features, players can unlock and then purchase the Milly Rock emotes
24   to customize their 2K18 MyCareer avatars. Defendants also include
25   one Milly Rock emote in 2K19. Defendants did not credit Ferguson nor
26   seek his consent to use, display, reproduce, sell, or create a derivative
27   work based upon Ferguson’s Milly Rock dance or Ferguson’s likeness in
28
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                                     Complaint
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 1   2K18 or 2K19. Defendants also did not seek Ferguson’s consent to use
 2   the term “Milly Rock” as the name for the emotes.
 3              Defendants’ NBA 2K franchise is the most popular sports
 4   video game franchise in the world. Indeed, 2K18 was the highest selling
 5   sports game of 2017 and the second highest-selling game overall. In
 6   addition to profits obtained from selling 2K18 – the game retails for
 7   $59.99 – Defendants also profit from in-game purchases within 2K18.
 8   Defendants should not be able to profit from Ferguson’s fame, hard
 9   work, and creativity by its intentional misappropriation of Ferguson’s
10   original content, likeness, name, and trademark.          Ferguson seeks
11   injunctive relief and damages, including, but not limited to, Defendants’
12   profits attributed to its improper use of the Milly Rock dance, the Milly
13   Rock title, and Ferguson’s likeness.
14                          II.   THE PARTIES
15              Ferguson resides in Brooklyn, New York.             He is better
16   known as the popular rapper, 2 Milly.
17              Take-Two    Interactive     Software,   Inc.   is   a   Delaware
18   corporation with its principal place of business at 110 West 44th Street,
19   New York, NY 10036.
20              2K Sports, Inc. is a Delaware corporation with its principal
21   place of business at 10 Hamilton Landing, Novato, CA 94949. 2K Sports
22   is a subsidiary corporation of Take-Two.
23              2K Games, Inc. is a Delaware corporation with its principal
24   place of business at 10 Hamilton Landing, Novato, CA 94949.             2K
25   Games is a subsidiary corporation of Take-Two.
26              Visual Concepts Entertainment is a California corporation
27   with its principal place of business at 10 Hamilton Landing, Novato, CA
28   94949.   Visual Concepts is a subsidiary corporation of 2K Games.
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 1   Alongside 2K Sports and 2K Games, Visual Concepts is the creator and
 2   developer of the NBA 2K franchise, which was first released in 1999.
 3              The true names and identities of the defendants herein sued
 4   as Does 1 through 50, inclusive, are unknown to Ferguson, who
 5   therefore sues those defendants by such fictitious names. When the
 6   true names of those defendants have been ascertained, Ferguson will
 7   amend this complaint accordingly. Each of the defendants aided and
 8   abetted and is responsible in some manner for the occurrences herein
 9   alleged, and Ferguson’s injuries were proximately caused thereby.
10   Defendants Take-Two, 2K Sports, 2K Games, Visual Concepts, and
11   Does 1 through 50, inclusive, shall collectively be referred to as
12   “Defendants.”
13              At all times herein mentioned, each of the defendants was
14   acting as an agent, servant, employee or representative of defendants,
15   and, in doing the things alleged in this Complaint, was acting within
16   the course and scope of that agency, service, employment, or joint
17   venture.
18       III. SUBJECT MATTER JURISDICTION AND
19                                    VENUE
20              The Court has subject matter jurisdiction over this action
21   pursuant to 28 U.S.C. § 1331 (federal question) and 28 U.S.C. § 1367
22   (supplemental jurisdiction).
23              Venue is proper in this District under A) 28 U.S.C. §
24   1391(b)(2) (federal question jurisdiction), because a substantial part of
25   the events or omissions giving rise to the claims occurred in this
26   District; and B) 28 U.S.C. §§ 1391(b)(1) and (c) (personal jurisdiction),
27   because all Defendants are subject to personal jurisdiction in this State
28   and at least one in this District.
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                                    Complaint
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 1                   IV.FACTUAL BACKGROUND
 2              2 Milly and the Creation of the Milly Rock
 3              Raised in the New York City borough of Brooklyn, Ferguson
 4   has been rapping with his childhood friends since he was 13 years old
 5   under the name “2 Milly.” Ferguson’s music focuses on his life as a
 6   rapper growing up in a rough, predominantly African-American
 7   Brooklyn neighborhood, and emphasizes his unique style and
 8   perspectives.
 9              In 2011, four years before releasing the “Milly Rock” single,
10   Ferguson created a dance, which he later named the Milly Rock after
11   himself, while listening and dancing to music with his friends. The
12   dance is distinctive and immediately recognizable.
13              Since creating the dance, Ferguson incorporated it into his
14   performances around New York City. Ferguson also posted videos of
15   himself and his friends, who later formed the rap group, Stack Paper,
16   performing the dance on YouTube and other social media platforms
17   including Instagram and Facebook.
18              In August 2014, Ferguson released “Milly Rock,” a rap that
19   celebrates the dance he created years ago. The song was accompanied
20   by a music video posted on YouTube, where Ferguson is depicted
21   performing the dance that he named after his stage name, 2 Milly, with
22   his friends in his hometown of Brooklyn. The hook of the song features
23   Ferguson, as 2 Milly, rapping the lyric, “I Milly Rock on any block.” The
24   Milly Rock song made the iTunes top 200 chart in its first week and was
25   the most added single on urban radio.
26              The song exploded in popularity the following summer as
27   various celebrities, including Rihanna, Chris Brown, and Wiz Khalifa
28   posted themselves performing the Milly Rock on social media. By the
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 1   end of the 2015 summer, the Milly Rock music video had over one
 2   million views on YouTube and thousands of people began posting their
 3   own videos showing themselves performing the Milly Rock. The video
 4   now has more than 18 million views on YouTube. The video can be
 5   found at https://www.youtube.com/watch?v=PMzDoFuVgRg.
 6              Since its release in 2014 and its rise to fame in 2015, the
 7   Milly Rock song and dance maintained its popularity.            Ferguson
 8   continues to successfully use the Milly Rock commercially. Ferguson
 9   performs the Milly Rock song and dance at concerts, events and
10   festivals. Indeed, in 2015, the recording artist, Jacques Webster II, also
11   known as Travis Scott, performed the Milly Rock, alongside Ferguson,
12   at the popular Summer Jam Festival. Moreover, other artists have
13   sought and been granted licenses from Ferguson in exchange for
14   compensation to perform the Milly Rock in their concerts and
15   performances.
16              The Milly Rock song, dance and title has become
17   synonymous with Ferguson, who is unanimously credited with creating
18   the dance that bears his stage name, and who performs the Milly Rock
19   song and dance at every performance.          Ferguson has also been
20   interviewed several times about the creation of the Milly Rock and how
21   to properly perform it.     Accordingly, the Milly Rock is a part of
22   Ferguson’s identity and the dance’s unique movements readily evoke
23   imagery of Ferguson’s Milly Rock music video.            Ferguson holds
24   copyrights in the Milly Rock dance and trademark rights in “Milly
25   Rock.”
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27
28
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 1              The NBA 2K Franchise and the Rise of
 2              Microtransactions
 3              The NBA 2K franchise is an annual series of basketball
 4   video games modeled after the National Basketball Association
 5   (“NBA”). The NBA 2K series consists of 18 annual installments and
 6   four spinoff games. Visual Concepts has been the developer of each of
 7   the games since inception; Sega Games Company, Limited was the
 8   publisher of the first six games before selling Visual Concepts to Take-
 9   Two, who later created the 2K Sports and 2K Games subsidiaries.
10   Take-Two, 2K Sports, 2K Games, and Visual Concepts have been the
11   creators and publishers of the franchise since NBA 2K6, released in
12   2005.
13              Although significantly more complex now, the original “NBA
14   2K” video game was comparatively simple. The game, released on
15   November 10, 1999 for only the Dreamcast console, features teams from
16   the 1999-2000 NBA season. Players can play as any of those teams, or
17   players from those teams, in head-to-head matchups against another
18   player or a computer program.       Players can also create their own
19   players and teams. The game did not have online capability, nor did it
20   offer in-game purchases.
21              The two subsequent video games, “NBA 2K1” and “NBA
22   2K2,” were largely similar to the first iteration. The fourth installment,
23   ESPN NBA Basketball – the only game in the series not to feature “2K”
24   in the title – was the first game to introduce a career mode where
25   players can create their own character and play as that character in
26   various game modes. The game was also the first in the series to feature
27   online game modes.
28
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 1              NBA 2K10, released in October 2009, advanced the series’
 2   career mode feature. Then called MyPlayer, the career mode feature
 3   allowed players to create a personalized character by customizing the
 4   character’s physical and personal traits, including, position, play style,
 5   jersey number, name, age, body type, hair, facial features, and tattoos.
 6   The feature also allows users to “spend” skill points earned during
 7   MyPlayer games to further improve the character’s skills.
 8              NBA 2K14, released in October 2013, was the first
 9   installment to introduce microtransactions to the MyPlayer mode,
10   which was renamed MyCareer. In addition to earning currency through
11   gameplay, the game began allowing players to purchase “Virtual
12   Currency” or “VC” with real money.        For example, in NBA 2K18,
13   Defendants offered five pricing levels for purchasing Virtual Currency:
14              1) 15,000 VC for $4.99;
15              2) 35,000 VC for $9.99;
16              3) 75,000 VC for $19.99;
17              4) 200,000 VC for $49.99; or
18              5) 450,000 VC for $99.99.
19              VC can be spent on MyCareer attributes, uniforms, apparel,
20   signature movements and dances.
21              Although controversial, as purchasers already spent the
22   retail cost of around $60 to purchase 2K games, the in-game
23   microtransactions became a lucrative source of revenue for Defendants.
24   As a result, Defendants began offering more options through
25   microtransactions in subsequent installments, including dances. The
26   more complicated the dance, the more it costs to purchase.
27              In NBA 2K16, released on September 29, 2015, Defendants
28   exploited African-American talent and creativity by copying their
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 1   dances and movements and sell them through microtransactions.
 2   Defendants copied the dances and movements of numerous African-
 3   American performers, including, among others, Alfonso Ribeiro’s
 4   famous dance that he performed on The Fresh Prince of Bel-Air
 5   television show (named “So Fresh” in game), the “Whip” dance created
 6   by the Atlanta hip hop group, “We Are Toonz,” in 2013 (also named
 7   “Whip” in game), the “Cat Daddy” dance created by the hip hop group,
 8   “The Rej3ctz,” in 2010 (named “Cat Daddy” and “Rollin” in game), the
 9   “Thriller Dance” created by Michael Jackson in his “Thriller” music
10   video in 1982 (named “Spiller” in game), the “Soulja Boy” dance created
11   by the hip hop artist, “Soulja Boy,” in 2007 (named “Soul Jah Boi” in
12   game), the “Nae Nae” dance created by “We Are Toonz,” in 2013 (also
13   named “Nae Nae” in game), and the “Schmoney Dance” created by the
14   hip hop artist, Bobby Shmurda, in 2014 (named “Dip” in game).
15              Upon    information    and    belief,   although   Defendants
16   presumably obtained licenses from athletes to use their likenesses and
17   voices, Defendants did not seek consent or authorization from these
18   artists to use any of these movements or dances. Defendants also did
19   not obtain consent to use the names of the dances that these artists
20   created.
21              Moreover, Defendants continued adding more dances
22   popularized by African-American artists in NBA 2K17, NBA 2K18 and
23   NBA 2K19, including the addition of Ferguson’s Milly Rock dance in
24   NBA 2K18.
25              Dances, or emotes, are incredibly popular and provide
26   significant additional revenue to the NBA 2K franchise. Indeed, in
27   2K14, when Defendants first introduced VC, user spending increased
28   by about 150% compared to NBA 2K13 with spending on Virtual
                                   –8–
                                 Complaint
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 1   Currency making up 92% of the increase. Using Virtual Currency,
 2   players purchase dances, alongside clothing, to personalize their
 3   gaming experience.      Moreover, players routinely purchase Virtual
 4   Currency to avoid the tedious process of earning Virtual Currency
 5   through gameplay. Indeed, in NBA 2K18, players are given only 6,000
 6   VC to start, and players earn less than 500 VC for each game played on
 7   MyCareer.     As dances routinely cost over 1,000 VC, Defendants
 8   intentionally offer considerably low amounts of VC through gameplay
 9   in order to incentivize players to purchase VC instead.
10               Upon information and belief, Defendants will likely continue
11   adding popular dances/emotes to the 2K games without the artists’ or
12   creators’ consent or approval to attract more players and add to its ever-
13   growing revenue.
14               Unauthorized Use of the Milly Rock in NBA 2K18 and
15               NBA 2K19
16               On September 19, 2017, Defendants released NBA 2K18 on
17   the Microsoft Windows, iOS, Android, PlayStation 4, PlayStation 3,
18   Xbox One and Xbox 360 platforms. Defendants priced the game at
19   $59.99. As part of the game, in the MyCareer mode, Defendants added
20   several new emotes. Among these new emotes, Defendants added the
21   “Milly Rock I,” “Milly Rock II,” “Milly Rock III,” “Milly Rock IV,” and
22   “Milly Rock V.” To obtain these dances, players must unlock these
23   dances through gameplay and then spend 1250 VC.
24               Moreover, on September 7, 2018, Defendants released NBA
25   2K19 for all platforms. Defendants offered at least one iteration of the
26   Milly Rock in NBA 2K19, but lowered the price to 500 VC.
27               As their names indicate, these Milly Rock emotes are
28   different iterations of Ferguson’s Milly Rock dance. If purchased, the
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 1   2K MyCareer avatar can perform the dance during gameplay. Despite
 2   using the dance’s name, and consequently his name, Defendants did not
 3   seek to obtain Ferguson’s authorization or consent. Moreover, Ferguson
 4   did not give Defendants express or implied consent for its use of his
 5   likeness and the Milly Rock name and dance. Defendants also did not
 6   compensate Ferguson.
 7              Upon information and belief, Defendants added the Milly
 8   Rock to intentionally exploit the popularity of Ferguson, Ferguson’s
 9   Milly Rock song, and the Milly Rock dance without providing Ferguson
10   any form of compensation.
11              Defendants profited from its improper misappropriation of
12   the Milly Rock name and dance and Ferguson’s likeness by, inter alia:
13   1) selling the infringing Milly Rock emotes directly to players; 2) selling
14   NBA 2K18 and NBA 2K19 that contain the Milly Rock emotes; 3)
15   advertising the Milly Rock emotes to attract additional players,
16   including 2 Milly’s fans or those persons familiar with the Milly Rock to
17   play NBA 2K18 and NBA 2K19 and make in-game purchases; 4)
18   keeping the franchise relevant to its players to incentivize those players
19   to continue purchasing the 2K games; 5) impliedly representing that
20   Ferguson consented to Defendants’ use of his likeness; 6) erroneously
21   causing the association of NBA 2K18 and NBA 2K19 with the Milly
22   Rock; 7) creating the false impression that Ferguson endorsed NBA
23   2K18 and NBA 2K19; and 8) inducing and/or contributing to NBA 2K18
24   and NBA 2K19 players’ characters performing the Milly Rock dance.
25              Upon information and belief, Defendants actively and
26   knowingly directed, caused, induced, and encouraged others, including,
27   but not limited to, their players, designers, suppliers, distributors,
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 1   resellers, software developers, and repair providers, to misappropriate
 2   Ferguson’s likeness and the Milly Rock name and dance.
 3              Ferguson has stated in interviews that he does not consent
 4   or approve the use of his likeness and the Milly Rock in video games.
 5              By adding microtransactions to their popular 2K franchise,
 6   Defendants have substantially increased their profits from unlawfully
 7   and unfairly misappropriating Ferguson’s and other artists’ creative
 8   expression,   likenesses    and   trademarks       without   crediting    or
 9   compensating these artists. Ferguson thus bring this lawsuit to prevent
10   Defendants from further using his likeness and the Milly Rock name
11   and dance, and to recover the profits rightfully owed to him.
12                     FIRST CAUSE OF ACTION
13   (For Direct Infringement of Copyright Against All Defendants)
14              Ferguson hereby repeats and realleges the allegations set
15   forth in paragraphs 1 through 40, above, as though fully set forth
16   herein.
17              On or around August 2014, Ferguson’s “Milly Rock” music
18   video was published to YouTube where it can be accessed by millions of
19   people. The Milly Rock music video shows Ferguson, as 2 Milly, rapping
20   and performing the Milly Rock dance with his friends.
21              Ferguson is the undisputed creator of the wildly popular and
22   immediately recognizable Milly Rock dance. Ferguson also named the
23   dance Milly Rock after his stage name, 2 Milly. Ferguson’s videos are
24   the original depictions of the Milly Rock dance.
25              Ferguson is in the process of registering the Milly Rock
26   dance with the United States Copyright Office. On December 4, 2018,
27   Ferguson submitted an application for copyright registration of the
28
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 1   Milly Rock dance and assigned Copyright Office case number 1-
 2   7192939861.
 3               In NBA 2K18 and NBA 2K19, players can have their
 4   characters perform the dance within the game. In fact, the in-game
 5   dance is also named the Milly Rock. Defendants have infringed and
 6   continue to infringe Ferguson’s copyrights in the Milly Rock by offering
 7   the Milly Rock dance emotes that, if purchased, a player can use to
 8   make his or her avatar perform during 2K gameplay; substantially
 9   copying the Milly Rock in digital form to the 2K games; advertising the
10   Milly Rock in its promotional materials; and creating the Milly Rock
11   emotes as derivative works of the Milly Rock.
12               Defendants did not seek to obtain Ferguson’s permission for
13   its use of the Milly Rock name and dance for the Milly Rock emotes.
14   Nor have Defendants compensated or credited Ferguson for their use of
15   the Milly Rock.
16               Moreover, Defendants actively and knowingly directed,
17   caused, induced, and encouraged others, including, but not limited to,
18   its players, designers, suppliers, distributors, resellers, software
19   developers, and repair providers, to misappropriate Ferguson’s likeness
20   and the Milly Rock dance.
21               Defendants’ acts of infringement have been willful,
22   intentional, and purposeful, in disregard of and with indifference to
23   Plaintiff’s rights.
24               Defendants’ willful and continued unauthorized use of the
25   Milly Rock for commercial gain has caused and will continue to cause
26   confusion and mistake by leading the public to erroneously associate
27   the Milly Rock with NBA 2K18 and NBA 2K19 in violation of 17 U.S.C.
28   §§ 101 et seq.
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 1              As a result of Defendants’ conduct, Ferguson has been
 2   damaged by being precluded from receiving his rightful share of the
 3   profits earned by Defendants for their improper and unlicensed use of
 4   Ferguson’s exclusive copyrights in the Milly Rock emotes.
 5              Ferguson is entitled to permanent injunctive relief
 6   preventing Defendants, and their officers, agents, and employees, and
 7   all related persons from further using the Milly Rock and engaging in
 8   other acts in violation of Copyright law.
 9              As    a   direct   and   proximate    result   of   Defendants’
10   infringement of Plaintiff’s copyrights and exclusive rights under
11   copyright, Ferguson is also entitled to recover damages, including
12   attorneys’ fees, and any profits obtained by Defendants as a result of
13   the infringements alleged above, in an amount according to proof to be
14   determined at the time of trial.
15              In doing the acts herein alleged, Defendants acted
16   fraudulently, willfully, and with malice, and Ferguson is therefore
17   entitled to punitive damages according to proof at the time of trial.
18                   SECOND CAUSE OF ACTION
19      (For Contributory Infringement of Copyright Against All
20                                 Defendants)
21              Ferguson hereby repeats and realleges the allegations set
22   forth in paragraphs 1 through 53, above, as though fully set forth
23   herein.
24              Ferguson is in the process of registering the Milly Rock
25   dance with the United States Copyright Office. On December 4, 2018,
26   Ferguson submitted an application for copyright registration of the
27   Milly Rock dance and assigned Copyright Office case number 1-
28   7192939861.
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                                   Complaint
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 1               In NBA 2K18 and NBA 2K19, players can have their
 2   characters perform the dance within the game. In fact, the in-game
 3   dance is also named the Milly Rock. Defendants have infringed and
 4   continue to infringe Ferguson’s copyrights in the Milly Rock by offering
 5   the Milly Rock dance emotes that, if purchased, a player can use to
 6   make his or her avatar perform during 2K gameplay; substantially
 7   copying the Milly Rock in digital form to the 2K games; advertising the
 8   Milly Rock in its promotional materials; and creating the Milly Rock
 9   emotes as derivative works of the Milly Rock.
10               By providing the Milly Rock emotes necessary for its players
11   to commit direct copyright infringement, Defendants have and continue
12   to materially contribute to the unauthorized reproductions and
13   distributions by its players of the Milly Rock.
14               Defendants did not seek to obtain Ferguson’s permission for
15   its use of the Milly Rock name and dance for the Milly Rock emotes.
16   Nor have Defendants compensated or credited Ferguson for their use of
17   the Milly Rock.
18               Moreover, Defendants actively and knowingly directed,
19   caused, induced, and encouraged others, including, but not limited to,
20   its players, designers, suppliers, distributors, resellers, software
21   developers, and repair providers, to misappropriate Ferguson’s likeness
22   and the Milly Rock dance.
23               Defendants’ acts of infringement have been willful,
24   intentional, and purposeful, in disregard of and with indifference to
25   Plaintiff’s rights.
26               Defendants’ willful and continued unauthorized use of the
27   Milly Rock name and dance for commercial gain has caused and will
28   continue to cause confusion and mistake by leading the public to
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 1   erroneously associate the Milly Rock with NBA 2K18 and NBA 2K19 in
 2   violation of 17 U.S.C. §§ 101 et seq.
 3              As a result of Defendants’ conduct, Ferguson has been
 4   damaged by being precluded from receiving his rightful share of the
 5   profits earned by Defendants for their improper and unlicensed use of
 6   Ferguson’s exclusive copyrights in the Milly Rock emotes.
 7              Defendants’ conduct is causing and, unless enjoined and
 8   restrained by this Court, will continue to cause Plaintiff great and
 9   irreparable injury that cannot be compensated or measured in money.
10   Plaintiff has no adequate remedy at law. Pursuant to 17 U.S.C. § 502,
11   Plaintiff is entitled to injunctive relief, prohibiting further contributory
12   infringements of Plaintiff’s copyrights.
13              As    a   direct   and   proximate    result   of   Defendants’
14   infringement of Plaintiff’s copyrights and exclusive rights under
15   copyright, Ferguson is also entitled to recover damages, including
16   attorneys’ fees, and any profits obtained by Defendants as a result of
17   the infringements alleged above, in an amount according to proof to be
18   determined at the time of trial.
19              In doing the acts herein alleged, Defendants acted
20   fraudulently, willfully, and with malice, and Ferguson is therefore
21   entitled to punitive damages according to proof at the time of trial.
22                     THIRD CAUSE OF ACTION
23       (For Violation of the Right of Publicity Under California
24                   Common Law Against All Defendants)
25              Ferguson hereby repeats and realleges the allegations set
26   forth in paragraphs 1 through 65, above, as though fully set forth
27   herein.
28
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                                   Complaint
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 1                Through their use of Milly Rock name and dance as in-game
 2   dance emotes, Defendants misappropriated Ferguson’s identity.             In
 3   NBA 2K18 and NBA 2K19, players can have their characters perform
 4   the dance within the game. In fact, the in-game dance is also named
 5   the Milly Rock.
 6                Defendants did not seek or obtain Ferguson’s authorization
 7   or consent for its use of his likeness for the Milly Rock emotes. Nor have
 8   Defendants compensated or credited Ferguson for their use of the Milly
 9   Rock.
10                Defendants used Ferguson’s likeness to generate significant
11   wealth by:     1) selling the infringing Milly Rock emotes directly to
12   players; 2) selling NBA 2K18 and NBA 2K19 that contain the Milly
13   Rock emotes; 3) advertising the Milly Rock emotes to attract additional
14   players, including 2 Milly’s fans or those persons familiar with the Milly
15   Rock to play NBA 2K18 and NBA 2K19 and make in-game purchases;
16   4) keeping the franchise relevant to its players to incentivize those
17   players to continue purchasing the 2K games; 5) impliedly representing
18   that Ferguson consented to Defendants’ use of his likeness; 6)
19   erroneously causing the association of NBA 2K18 and NBA 2K19 with
20   the Milly Rock; 7) creating the false impression that Ferguson endorsed
21   NBA 2K18 and NBA 2K19; and 8) inducing and/or contributing to NBA
22   2K18 and NBA 2K19 players’ characters performing the Milly Rock
23   dance.
24                As the rapper, 2 Milly, Ferguson exploits his identity by
25   performing at concerts, events and festivals. Ferguson was damaged by
26   Defendants’ conduct as he was prevented from reaping the profits of
27   licensing his likeness to Defendants for commercial gain.
28
                                    – 16 –
                                  Complaint
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 1                Defendants’ conduct caused and will continue to cause
 2   confusion and mistake by leading the public to erroneously believe that
 3   Ferguson consented to the use of his likeness in NBA 2K18 and NBA
 4   2K19.
 5                Ferguson is entitled to permanent injunctive relief
 6   preventing Defendants, and their officers, agents, and employees, and
 7   all related persons from further using his likeness.
 8                Ferguson is also entitled to recover damages, including any
 9   profits obtained by Defendants as a result of the infringements alleged
10   above, in an amount according to proof to be determined at the time of
11   trial.
12                     FOURTH CAUSE OF ACTION
13   (For Violation of the Right of Publicity Under Cal. Civ. Code §
14                        3344 Against All Defendants)
15                Ferguson hereby repeats and realleges the allegations set
16   forth in paragraphs 1 through 73, above, as though fully set forth
17   herein.
18                Through their use of Milly Rock name and dance as in-game
19   dance emotes, Defendants misappropriated Ferguson’s identity.             In
20   NBA 2K18 and NBA 2K19, players can have their characters perform
21   the dance within the game. In fact, the in-game dance is also named
22   the Milly Rock.
23                Defendants did not seek or obtain Ferguson’s authorization
24   or consent for its use of his likeness for the Milly Rock emotes. Nor have
25   Defendants compensated or credited Ferguson for their use of the Milly
26   Rock.
27                Defendants used Ferguson’s likeness to generate significant
28   wealth by:     1) selling the infringing Milly Rock emotes directly to
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                                  Complaint
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 1   players; 2) selling NBA 2K18 and NBA 2K19 that contain the Milly
 2   Rock emotes; 3) advertising the Milly Rock emotes to attract additional
 3   players, including 2 Milly’s fans or those persons familiar with the Milly
 4   Rock to play NBA 2K18 and NBA 2K19 and make in-game purchases;
 5   4) keeping the franchise relevant to its players to incentivize those
 6   players to continue purchasing the 2K games; 5) impliedly representing
 7   that Ferguson consented to Defendants’ use of his likeness; 6)
 8   erroneously causing the association of NBA 2K18 and NBA 2K19 with
 9   the Milly Rock; 7) creating the false impression that Ferguson endorsed
10   NBA 2K18 and NBA 2K19; and 8) inducing and/or contributing to NBA
11   2K18 and NBA 2K19 players’ characters performing the Milly Rock
12   dance.
13              As the rapper, 2 Milly, Ferguson exploits his identity by
14   performing at concerts, events and festivals. Ferguson was damaged by
15   Defendants’ conduct as he was prevented from reaping the profits of
16   licensing his likeness to Defendants for commercial gain.
17              Defendants’ conduct caused and will continue to cause
18   confusion and mistake by leading the public to erroneously believe that
19   Ferguson consented to the use of his likeness in NBA 2K18 and NBA
20   2K19.
21              Ferguson is entitled to permanent injunctive relief
22   preventing Defendants, and their officers, agents, and employees, and
23   all related persons from further using his likeness.
24              Ferguson is also entitled to recover damages, including any
25   profits obtained by Defendants as a result of the infringements alleged
26   above, in an amount according to proof to be determined at the time of
27   trial.
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                                  Complaint
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 1                     FIFTH CAUSE OF ACTION
 2      (Unfair Competition Under Cal. Bus. & Prof. Code § 17200)
 3              Ferguson hereby repeats and realleges the allegations set
 4   forth in paragraphs 1 through 81, above, as though fully set forth
 5   herein.
 6              By misappropriating the Milly Rock name and dance, and
 7   Ferguson’s likeness, Defendants have engaged in business acts or
 8   practices that constitute unfair competition in violation of Cal. Bus. &
 9   Prof. Code. § 17200.
10              As a result of Defendants’ violations, Defendants have
11   unjustly enriched themselves by: 1) selling the infringing Milly Rock
12   emotes directly to players; 2) selling NBA 2K18 and NBA 2K19 that
13   contain the Milly Rock emotes; 3) advertising the Milly Rock emotes to
14   attract additional players, including 2 Milly’s fans or those persons
15   familiar with the Milly Rock to play NBA 2K18 and NBA 2K19 and
16   make in-game purchases; 4) keeping the franchise relevant to its
17   players to incentivize those players to continue purchasing the 2K
18   games; 5) impliedly representing that Ferguson consented to
19   Defendants’ use of his likeness; 6) erroneously causing the association
20   of NBA 2K18 and NBA 2K19 with the Milly Rock; 7) creating the false
21   impression that Ferguson endorsed NBA 2K18 and NBA 2K19; and 8)
22   inducing and/or contributing to NBA 2K18 and NBA 2K19 players’
23   characters performing the Milly Rock dance.
24              As a result of Defendants’ conduct, Ferguson has been
25   damaged by being precluded from receiving his rightful share of the
26   profits from selling or licensing his likeness, copyright, and trademark
27   in the Milly Rock dance.
28
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                                  Complaint
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 1              Moreover, Ferguson was damaged by Defendants’ conduct as
 2   he was prevented from reaping the profits of licensing his likeness,
 3   copyright and trademark in the Milly Rock dance to Defendants for
 4   commercial gain.
 5              Ferguson is entitled to permanent injunctive relief
 6   preventing Defendants, and their officers, agents, and employees, and
 7   all related persons from further using his likeness, copyright and
 8   trademark.
 9              Ferguson is also entitled to recover damages, including any
10   profits obtained by Defendants as a result of the infringements alleged
11   above, in an amount according to proof to be determined at the time of
12   trial.
13                      SIXTH CAUSE OF ACTION
14        (False Designation of Origin Under 15 U.S.C. § 1125(a))
15              Ferguson hereby repeats and realleges the allegations set
16   forth in paragraphs 1 through 88, above, as though fully set forth
17   herein.
18              Since releasing the Milly Rock music video, Ferguson’s Milly
19   Rock dance has exploded in popularity. The Milly Rock has become
20   synonymous with Ferguson, who is unanimously credited with creating
21   the dance that bears his stage name, and who performs the Milly Rock
22   song and dance at every performance.           Ferguson has also been
23   interviewed several times about the creation of the Milly Rock and how
24   to properly perform it.     Accordingly, the Milly Rock is a part of
25   Ferguson’s identity and the dance’s unique movements readily evoke
26   imagery of Ferguson’s Milly Rock music video.
27              In NBA 2K18 and NBA 2K19, players can have their
28   characters perform the dance within the game. In fact, the in-game
                                    – 20 –
                                  Complaint
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 1   dance is also named the Milly Rock. Through Defendants’ unauthorized
 2   use of the “Milly Rock” name and dance in 2K18 and 2K19, Defendants
 3   have misappropriated Ferguson’s name, likeness, copyright and
 4   trademark.
 5              Moreover, Ferguson is damaged by Defendants’ exploitation
 6   of his name and likeness through 1) selling the infringing Milly Rock
 7   emotes directly to players; 2) selling NBA 2K18 and NBA 2K19 that
 8   contain the Milly Rock emotes; 3) advertising the Milly Rock emotes to
 9   attract additional players, including 2 Milly’s fans or those persons
10   familiar with the Milly Rock to play NBA 2K18 and NBA 2K19 and
11   make in-game purchases; 4) keeping the franchise relevant to its
12   players to incentivize those players to continue purchasing the 2K
13   games; 5) impliedly representing that Ferguson consented to
14   Defendants’ use of his likeness; 6) erroneously causing the association
15   of NBA 2K18 and NBA 2K19 with the Milly Rock; 7) creating the false
16   impression that Ferguson endorsed NBA 2K18 and NBA 2K19; and 8)
17   inducing and/or contributing to NBA 2K18 and NBA 2K19 players’
18   characters performing the Milly Rock dance.
19              As a result of Defendants’ conduct, Ferguson has been
20   damaged by being precluded from receiving his rightful share of the
21   profits from selling or licensing the Milly Rock name and dance.
22              Moreover, Ferguson was damaged by Defendants’ conduct as
23   he was prevented from reaping the profits of licensing the Milly Rock
24   name and dance to Defendants for commercial gain.
25              Ferguson is entitled to permanent injunctive relief
26   preventing Defendants, and their officers, agents, and employees, and
27   all related persons from further using the Milly Rock name and dance.
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 1              Ferguson is also entitled to recover damages, including any
 2   profits obtained by Defendants as a result of the infringements alleged
 3   above, in an amount according to proof to be determined at the time of
 4   trial.
 5                  SEVENTH CAUSE OF ACTION
 6      (Trademark Infringement Under California Common Law)
 7              Ferguson hereby repeats and realleges the allegations set
 8   forth in paragraphs 1 through 96, above, as though fully set forth
 9   herein.
10              In 2011, four years before releasing the “Milly Rock” single,
11   Ferguson created a dance, which he later named the Milly Rock after
12   himself, while listening and dancing to music with his friends.
13              Since its release in 2014 and its rise to fame in 2015, the
14   Milly Rock exploded in popularity.        Consequently, the public has
15   identified the dance as Milly Rock, named after 2 Milly. Accordingly,
16   since 2014, Ferguson has used, and thereby owns common law
17   trademark rights in the Milly Rock name.
18              The Milly Rock name is distinctive and has acquired
19   distinctiveness through Ferguson’s continuous and widespread use of
20   the Milly Rock name and dance in concerts, performances and videos in
21   the United States and worldwide.
22              In NBA 2K18 and NBA 2K19, players can have their
23   characters perform the dance within the game. In fact, the in-game
24   dance is also named the Milly Rock. Through Defendants’ unauthorized
25   use of the “Milly Rock” name and dance in 2K18 and 2K19, Defendants
26   have misappropriated Ferguson’s trademark.
27              Moreover, Ferguson is damaged by Defendants’ exploitation
28   of the Milly Rock name through 1) selling the infringing Milly Rock
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                                  Complaint
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 1   emotes directly to players; 2) selling NBA 2K18 and NBA 2K19 that
 2   contain the Milly Rock emotes; 3) advertising the Milly Rock emotes to
 3   attract additional players, including 2 Milly’s fans or those persons
 4   familiar with the Milly Rock to play NBA 2K18 and NBA 2K19 and
 5   make in-game purchases; 4) keeping the franchise relevant to its
 6   players to incentivize those players to continue purchasing the 2K
 7   games; 5) impliedly representing that Ferguson consented to
 8   Defendants’ use of his likeness; 6) erroneously causing the association
 9   of NBA 2K18 and NBA 2K19 with the Milly Rock; 7) creating the false
10   impression that Ferguson endorsed NBA 2K18 and NBA 2K19; and 8)
11   inducing and/or contributing to NBA 2K18 and NBA 2K19 players’
12   characters performing the Milly Rock dance.
13              As a result of Defendants’ conduct, Ferguson has been
14   damaged by being precluded from receiving his rightful share of the
15   profits from selling or licensing the Milly Rock name and dance.
16              Moreover, Ferguson was damaged by Defendants’ conduct as
17   he was prevented from reaping the profits of licensing the Milly Rock
18   name and dance to Defendants for commercial gain.
19              Ferguson is entitled to permanent injunctive relief
20   preventing Defendants, and their officers, agents, and employees, and
21   all related persons from further using the Milly Rock name and dance.
22              Ferguson is also entitled to recover damages, including any
23   profits obtained by Defendants as a result of the infringements alleged
24   above, in an amount according to proof to be determined at the time of
25   trial.
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 1                    EIGHTH CAUSE OF ACTION
 2            (Trademark Infringement Under 15 U.S.C. § 1125(a))
 3                Ferguson hereby repeats and realleges the allegations set
 4   forth in paragraphs 1 through 106, above, as though fully set forth
 5   herein.
 6                Defendants’ unauthorized use of “Milly Rock” name and
 7   dance in 2K18 and 2K19 constitutes infringement in violation of the
 8   Lanham Act, 15. U.S.C. § 1125(a), et seq., and has caused substantial
 9   and irreparable injury to Ferguson’s reputation and goodwill.
10                As a direct and proximate result of Defendants’ trademark
11   infringement, Ferguson is entitled to permanent injunctive relief
12   preventing Defendants, and their officers, agents, and employees, and
13   all related persons from further using the Milly Rock name and dance.
14                Ferguson is also entitled to recover damages, including any
15   profits obtained by Defendants as a result of the infringements alleged
16   above, in an amount according to proof to be determined at the time of
17   trial.
18                Defendants’ acts have been deliberate, willful, and
19   intentional and purposeful to exploit Ferguson’s celebrity and
20   popularity of the Milly Rock name and dance.
21                Defendants threaten to continue to advertise, promote,
22   market, sell and offer for sale the Milly Rock emote using the same
23   name as Ferguson’s mark, and unless and restrained and enjoined, will
24   continue to do so to Ferguson’s irreparable damage.
25                Defendants’ conduct is causing and, unless enjoined and
26   restrained by this Court, will continue to cause Ferguson great and
27   irreparable injury that cannot be compensated or measured in money.
28   Ferguson thus has no adequate remedy at law and is entitled to
                                    – 24 –
                                  Complaint
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 1   injunctive relief, prohibiting further infringements of Ferguson’s
 2   trademark.
 3              In addition, Plaintiffs have incurred costs and attorneys’ fees
 4   to bring this action.
 5                  NINTHTH CAUSE OF ACTION
 6             (Trademark Dilution Under 15 U.S.C. § 1125(c))
 7              Ferguson hereby repeat and reallege the allegations set
 8   forth in paragraphs 1 through 114, above, as though fully set forth
 9   herein.
10              By virtue of the prominent and continuous use of the Milly
11   Rock mark, Ferguson’s mark has become distinctive and famous within
12   the meaning of 15 U.S.C. § 1125(c).
13              Defendants’ conduct dilutes the distinctive quality of
14   Ferguson’s mark in violation of Section 43(c) of the Lanham Act, 15
15   U.S.C. § 1125(c).
16              Defendants’ conduct and actions have lessened the capacity
17   of Ferguson’s mark as Defendants did not credit Ferguson nor seek his
18   consent to use the Milly Rock trademark.
19              Defendants’ acts have been deliberate, willful, and
20   intentional and purposeful to exploit Ferguson’s celebrity and
21   popularity of the Milly Rock name and dance.
22                Defendants threaten to continue to advertise, promote,
23   market, sell and offer for sale the 2K18 and 2K19 emotes using the same
24   name as Ferguson’s mark, and unless and restrained and enjoined, will
25   continue to do so to Ferguson’s irreparable damage.
26              Defendants’ conduct is causing and, unless enjoined and
27   restrained by this Court, will continue to cause Ferguson great and
28   irreparable injury that cannot be compensated or measured in money.
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                                  Complaint
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 1   Ferguson thus has no adequate remedy at law and are entitled to
 2   injunctive relief, prohibiting further dilution of Ferguson’s trademark.
 3               In addition, Plaintiffs have incurred costs and attorneys’ fees
 4   to bring this action.
 5
 6                           PRAYER FOR RELIEF
 7   As to the First Cause of Action:
 8         1.    For an order restraining Defendants from using, selling, or
 9   displaying Ferguson’s copyright in NBA 2K18 and NBA 2K19;
10         2.    For an award of damages according to proof;
11         3.    For punitive and/or exemplary damages;
12         4.    For attorney’s fees and costs;
13   As to the Second Cause of Action:
14         5.    For an order restraining Defendants from using, selling, or
15   displaying Ferguson’s copyright in NBA 2K18 and NBA 2K19;
16         6.    For an award of damages according to proof;
17         7.    For punitive and/or exemplary damages;
18         8.    For attorney’s fees and costs;
19   As to the Third Cause of Action:
20         9.    For an order restraining Defendants from using Ferguson’s
21   likeness in NBA 2K18 and NBA 2K19;
22         10.   For an award of damages according to proof;
23   As to the Fourth Cause of Action:
24         11.   For an order restraining Defendants from using, selling, or
25   displaying Ferguson’s copyright and likeness in NBA 2K18 and NBA
26   2K19;
27         12.   For an award of damages according to proof; and
28         13.   For punitive and/or exemplary damages;
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 1   As to the Fifth Cause of Action:
 2        14.   For an order restraining Defendants from using, selling, or
 3   displaying Ferguson’s copyright and likeness in NBA 2K18 and NBA
 4   2K19;
 5        15.   For an award of damages according to proof; and
 6   As to the Sixth Cause of Action:
 7        16.   For an order restraining Defendants from using, selling, or
 8   displaying Ferguson’s likeness in NBA 2K18 and NBA 2K19;
 9        17.   For an award of damages according to proof;
10        18.   For punitive and/or exemplary damages;
11        19.   For attorney’s fees and costs;
12   As to the Seventh Cause of Action:
13        20.   For an order restraining Defendants from using, selling, or
14   displaying Ferguson’s trademark in NBA 2K18 and NBA 2K19;
15        21.   For an award of damages according to proof;
16   As to the Eighth Cause of Action:
17        20.   For an order restraining Defendants from using, selling, or
18   displaying Ferguson’s trademark in NBA 2K18 and NBA 2K19;
19        21.   For an award of damages according to proof;
20   As to the Ninth Cause of Action:
21        20.   For an order restraining Defendants from using, selling, or
22   displaying Ferguson’s trademark in NBA 2K18 and NBA 2K19;
23        21.   For an award of damages according to proof;
24   As to All Causes of Action:
25        22.   For costs of suit; and
26        23.   For such other and further relief as the Court may deem
27   proper.
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 1
     Dated: December 17, 2018           Respectfully Submitted,
 2
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                                        Hecht LLP
 4
 5
 6                                      By: /s/Carolynn Kyungwon Beck
                                        Carolynn Kyungwon Beck
 7
                                        Attorneys for Plaintiff Terrence
 8                                      Ferguson
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 1                                  JURY TRIAL
 2       Plaintiff Terrence Ferguson requests a trial by jury on all issues to
 3   which it is entitled a jury.
 4
 5   Dated: December 17, 2018           Respectfully Submitted,

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